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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                     )   MDL 2804
    OPIATE LITIGATION                                )
                                                     )   Case No. 1:17-md-2804
    THIS DOCUMENT RELATES TO:                        )
                                                     )   Judge Dan Aaron Polster
    Big Bend Community Based Care, Inc.,             )
    et al. v. Purdue Pharma, L.P., et al.            )   SHORT FORM FOR
                                                     )   SUPPLEMENTING COMPLAINT AND
    Case No. 1:18-op-45493-DAP                       )   AMENDING DEFENDANTS AND
                                                     )   JURY DEMAND



         Plaintiff submits this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in the Corrected Second Amended

Complaint and Jury Demand in the case of The County of Summit, Ohio, et al., v. Purdue Pharma

L.P., et al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National Prescription

Opiate Litigation, in the United States District Court for the Northern District of Ohio,

Doc. ##: 513, 514,1 and as may be amended in the future, and any additional claims asserted herein.

Plaintiff also hereby amends its complaint to alter the defendants against which claims are asserted

as identified below. To the extent defendants were previously sued in plaintiff(s)’ existing

complaint and they are no longer identified as defendants herein, they have been dismissed without

prejudice except as limited by CMO-1, Section 6(e). Doc. #: 232.



1
 Docket #: 513 is the redacted Summit Second Amended Complaint and Docket #: 514 is the unredacted Summit
Corrected Second Amended Complaint filed under seal in Case No. 1:17-md-02804-DAP. The redacted Summit
Corrected Second Amended Complaint is also filed in its individual docket, Case No. 1:18-op-45090-DAP,
Docket #: 24.
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             INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       1.      Plaintiffs’ Existing Complaint (No. 01-op-45493, Doc. #:1) is expressly

incorporated by reference to this Short Form as if fully set forth herein except to the extent that

allegations regarding certain defendants that are not listed in section 2 below are dismissed without

prejudice.

                                  PARTIES – DEFENDANTS

       2.      Having reviewed the relevant ARCOS data, Plaintiffs assert claims against the

following Defendants:

Purdue Pharma, L.P., Purdue Pharma, Inc., The Purdue Frederick Company, Endo

Pharmaceuticals, Inc., Endo Health Solutions Inc., Janssen Pharmaceuticals, Inc., Johnson &

Johnson, Cephalon, Inc., Teva Pharmaceutical Industries, Ltd., Teva Pharmaceutical USA, Inc.,

Allergan Plc, Watson Laboratories, Inc., Actavis Pharma, Inc., Actavis LLC, Actavis Plc,

Actavis, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories,

Inc., Mallinckrodt, Plc and Mallinckrodt, LLC, Insys Therapuetics, Inc., Mckesson Corporation,

And Cardinal Health, Inc., John And Jane Does 1 through 100, AmerisourceBergen Drug

Corporation, Anda, Inc., Associated Pharmacies, Inc., CVS Health Corporation, The

Harvard Drug Group, LLC, H. D. Smith, LLC, Omnicare Distribution Center LLC,

Publix Super Markets, Inc., River City Pharma, Smith Drug Company a/k/a J M Smith

Corporation, Walgreens Boots Alliance, Inc., Walmart, Inc., Winn-Dixie Logistics, LLC,

Amneal Pharmaceuticals, LLC, Ethex Corporation, Indivior Inc., Mylan Pharmaceuticals,

Inc., Par Pharmaceutical, Inc., Rhodes Pharmaceuticals L.P., Rhodes Technology, Inc.,

Sandoz, Inc., SpecGx LLC, and West-Ward Pharmaceuticals Corporation.




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       I, Christopher B. Hood , Counsel for Plaintiff(s), certify that in identifying all
Defendants, I have followed the procedure approved by the Court and reviewed the ARCOS
data that I understand to be relevant to Plaintiff(s).
      I further certify that, except as set forth below, each of the Defendant(s) newly
added herein appears in the ARCOS data I reviewed.
       I understand that for each newly added Defendant not appearing in the ARCOS
data I must set forth below factual allegations sufficient to state a claim against any such
newly named Defendant that does not appear in the ARCOS data.



      The following newly added Defendant(s) do not appear in the ARCOS data I
reviewed: N/A
Dated: March 16, 2019                Signed: /s/ Christopher B. Hood


Factual Allegations Regarding Individual Defendants
       2.1    Defendants, AmerisourceBergen Drug Corporation, Anda, Inc., Associated

Pharmacies, Inc., CVS Health Corporation, The Harvard Drug Group, LLC, H. D. Smith,

LLC, Omnicare Distribution Center LLC, Publix Super Markets, Inc., River City

Pharma, Smith Drug Company a/k/a J M Smith Corporation, Walgreens Boots Alliance,

Inc., Walmart, Inc., Winn-Dixie Logistics, LLC,       Amneal Pharmaceuticals, LLC, Ethex

Corporation, Indivior Inc., Mylan Pharmaceuticals, Inc., Par Pharmaceutical, Inc.,

Rhodes Pharmaceuticals L.P., Rhodes Technology, Inc., Sandoz, Inc., SpecGx LLC, and

West-Ward Pharmaceuticals Corporation, are hereby added as defendant by this pleading

based on the following jurisdictional allegations:


       2.2    Defendant AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a

wholesaler of pharmaceutical drugs that distributes opioids throughout the country.

AmerisourceBergen is a Delaware corporation with its principal place of business in

Chesterbrook, Pennsylvania. At all times relevant to this Complaint, AmerisourceBergen


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distributed prescription opioids throughout the United States, including in the communities

served by Plaintiffs. This Court has subject matter jurisdiction over the claims against this

defendant, and the Court possesses personal jurisdiction over the defendant because defendant

purposely directed the alleged wrongdoing to the state of Florida and to the counties of Florida

where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.3       Defendant Anda, Inc., (“Anda”) through its various DEA registrant subsidiaries

and affiliated entities, including but not limited to, Anda Pharmaceuticals, Inc., is the fourth

largest distributor of generic pharmaceuticals in the United States. Anda is a Florida corporation

with its principal place of business in Weston, Florida. In October 2016, Defendant Teva

acquired Anda from Allergan plc (i.e. Defendant Actavis), for $500 million in cash. At all times

relevant to this Complaint, Anda distributed prescription opioids throughout the United States,

including in the communities served by Plaintiffs. This Court has subject matter jurisdiction

over the claims against this defendant, and the Court possesses personal jurisdiction over the

defendant because defendant purposely directed the alleged wrongdoing to the state of Florida

and to the counties of Florida where the wrongdoing occurred and where Plaintiffs operate and

were injured.


      2.4       Defendant Associated Pharmacies, Inc. (“Associated Pharmacies”) is an

Alabama corporation with its principal place of business in Alabama. Associated Pharmacies is

registered to conduct business and/or conducts business in Plaintiffs’ communities as a licensed

wholesale pharmaceutical distributor. At all times relevant to this Complaint, Associated

Pharmacies distributed prescription opioids throughout the United States, including in the

communities served by Plaintiffs. This Court has subject matter jurisdiction over the claims

against this defendant, and the Court possesses personal jurisdiction over the defendant because

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defendant purposely directed the alleged wrongdoing to the state of Florida and to the counties

of Florida where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.5       Defendant CVS Health Corporation is a Delaware corporation with its principal

place of business in Rhode Island. CVS Health Corporation conducts business as a licensed

wholesale distributor under the following named business entities: CVS Indiana, L.L.C.; CVS

Orlando FL Distribution; CVS Pharmacy, Inc.; CVS RX Services, Inc, d/b/a CVS Pharmacy

Distribution Center; CVS TN Distribution, LLC; and CVS VERO FL Distribution, L.L.C

(collectively “CVS”). CVS is registered to conduct business and/or conducts business in

Plaintiffs’ communities as a licensed wholesale pharmaceutical Distributor. At all times

relevant to this Complaint, CVS distributed prescription opioids throughout the United States,

including in the communities served by Plaintiffs. This Court has subject matter jurisdiction

over the claims against this defendant, and the Court possesses personal jurisdiction over the

defendant because defendant purposely directed the alleged wrongdoing to the state of Florida

and to the counties of Florida where the wrongdoing occurred and where Plaintiffs operate and

were injured.


      2.6       Defendant The Harvard Drug Group, LLC, is a Michigan limited liability

company with its principal office located in Plymouth, Michigan. At all times relevant to this

Complaint, The Harvard Drug Group, LLC distributed opioids throughout the United States,

including in the communities served by Plaintiffs. This Court has subject matter jurisdiction

over the claims against this defendant, and the Court possesses personal jurisdiction over the

defendant because defendant purposely directed the alleged wrongdoing to the state of Florida

and to the counties of Florida where the wrongdoing occurred and where Plaintiffs operate and

were injured.

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      2.7     Defendant H. D. Smith, LLC f/k/a H. D. Smith Wholesale Drug Co. (“H. D.

Smith”) through its various DEA registered subsidiaries and affiliated entities, is a wholesaler

of pharmaceutical drugs that distributes opioids throughout the United States, including Florida

and the communities served by Plaintiffs. H. D. Smith is a privately held independent

pharmaceuticals distributor of wholesale brand, generic and specialty pharmaceuticals and is a

Delaware corporation with its principal place of business in Illinois. H. D. Smith, LLC’s sole

member is H. D. Smith Holdings, LLC, and its sole member is H. D. Smith Holding Company,

a Delaware corporation with its principal place of business in Illinois. H. D. Smith is the largest

independent wholesaler in the United States. In January 2018, Defendant AmerisourceBergen

acquired H. D. Smith. This Court has subject matter jurisdiction over the claims against this

defendant, and the Court possesses personal jurisdiction over the defendant because defendant

purposely directed the alleged wrongdoing to the state of Florida and to the counties of Florida

where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.8     Defendant Omnicare Distribution Center LLC (“Omnicare”) is a Delaware

corporation with its principal place of business in Cincinnati, Ohio. Omnicare is a wholesale

distributor of pharmaceutical drugs. At all times relevant to this Complaint, Omnicare

distributed opioids throughout the United States, including in the communities served by

Plaintiffs. This Court has subject matter jurisdiction over the claims against this defendant, and

the Court possesses personal jurisdiction over the defendant because defendant purposely

directed the alleged wrongdoing to the state of Florida and to the counties of Florida where the

wrongdoing occurred and where Plaintiffs operate and were injured.


      2.9     Defendant Publix Super Markets, Inc. (“Publix”) is a Florida corporation with

its principal place of business in Lakeland, Florida. Defendant Publix is registered to conduct

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business and/or conducts business in Plaintiffs’ communities as a licensed wholesale

pharmaceutical distributor under the following named business entities: Publix Food and

Pharmacy, Publix Pharmacy. At all times relevant to this Complaint, Publix distributed opioids

throughout the United States, including in the communities served by Plaintiffs. This Court has

subject matter jurisdiction over the claims against this defendant, and the Court possesses

personal jurisdiction over the defendant because defendant purposely directed the alleged

wrongdoing to the state of Florida and to the counties of Florida where the wrongdoing

occurred and where Plaintiffs operate and were injured.


      2.10    Defendant River City Pharma is an Ohio limited liability company

headquartered in Mason, Ohio. At all times relevant to this Complaint, River City Pharma

distributed opioids throughout the United States, including in the communities served by

Plaintiffs. This Court has subject matter jurisdiction over the claims against this defendant, and

the Court possesses personal jurisdiction over the defendant because defendant purposely

directed the alleged wrongdoing to the state of Florida and to the counties of Florida where the

wrongdoing occurred and where Plaintiffs operate and were injured.


      2.11    Defendant Smith Drug Company a/k/a J M Smith Corporation (“Smith Drug”),

is a South Carolina corporation with its principal office located in Spartanburg, South Carolina,

doing business as Smith Drug Company. Smith Drug Company is a division of J M Smith

Corporation responsible for operating J M Smith Corporation’s pharmaceutical distribution

business. At all times relevant to this Complaint, Smith Drug distributed opioids throughout the

United States, including in the communities served by Plaintiffs. This Court has subject matter

jurisdiction over the claims against this defendant, and the Court possesses personal jurisdiction

over the defendant because defendant purposely directed the alleged wrongdoing to the state of

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Florida and to the counties of Florida where the wrongdoing occurred and where Plaintiffs

operate and were injured.


      2.12    Defendant Walgreens Boots Alliance, Inc., is a Delaware corporation with its

principal place of business in Illinois. Walgreens Boots Alliance Inc. is registered to conduct

business and/or conducts business in Plaintiffs’ communities as a licensed wholesale distributor

under the following named business entities: Walgreen Co.; Walgreen Eastern Co., Inc.;

Walgreen National Corporation; Walgreen Pharmacy Services Midwest, LLC (collectively

“Walgreens”). At all times relevant to this Complaint, Walgreens distributed opioids throughout

the United States, including in the communities served by Plaintiffs. This Court has subject

matter jurisdiction over the claims against this defendant, and the Court possesses personal

jurisdiction over the defendant because defendant purposely directed the alleged wrongdoing to

the state of Florida and to the counties of Florida where the wrongdoing occurred and where

Plaintiffs operate and were injured.


      2.13    Defendant Walmart, Inc. (“Walmart”) formerly known as Wal-Mart Stores, Inc.,

is a Delaware corporation with its principal place of business in Bentonville, Arkansas.

Walmart is registered to conduct business in Plaintiffs’ communities as a licensed wholesale

distributor. At all times relevant to this Complaint, Walmart distributed opioids throughout the

United States, including in the communities served by Plaintiffs. This Court has subject matter

jurisdiction over the claims against this defendant, and the Court possesses personal jurisdiction

over the defendant because defendant purposely directed the alleged wrongdoing to the state of

Florida and to the counties of Florida where the wrongdoing occurred and where Plaintiffs

operate and were injured.



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      2.14      Defendant Winn-Dixie Logistics, LLC (“Winn-Dixie”) is a limited liability

company with its principal place of business located at 8928 Prominence Parkway, #200,

Jacksonville, Florida 32256. Winn-Dixie is registered to conduct business and/or conducts

business in Plaintiffs’ communities as a licensed wholesale pharmaceutical distributor. At all

times relevant to this Complaint, Winn-Dixie distributed opioids, throughout the United States,

including in the communities served by Plaintiffs. This Court has subject matter jurisdiction

over the claims against this defendant, and the Court possesses personal jurisdiction over the

defendant because defendant purposely directed the alleged wrongdoing to the state of Florida

and to the counties of Florida where the wrongdoing occurred and where Plaintiffs operate and

were injured.


      2.15      Defendant Amneal Pharmaceuticals, LLC (“Amneal”) is a Delaware limited

liability company with its principal place of in New Jersey. At all relevant times, Amneal has

sold prescription drugs including opioids across the United States, including in the communities

served by Plaintiffs. This Court has subject matter jurisdiction over the claims against this

defendant, and the Court possesses personal jurisdiction over the defendant because defendant

purposely directed the alleged wrongdoing to the state of Florida and to one or more of the

counties of Florida where the wrongdoing occurred and where Plaintiffs operate and were

injured.


      2.16      Defendant Ethex Corporation (“Ethex”) was a wholly owned subsidiary of KV

Pharmaceutical k/n/a AMAG Pharma USA, Inc., a Delaware corporation previously

headquartered in St. Louis, Missouri, and currently headquartered in Waltham, Massachusetts.

At all relevant times, Ethex manufactured, promoted, distributed, and/or sold opioids

throughout Plaintiffs’ Communities. This Court has subject matter jurisdiction over the claims

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against this defendant, and the Court possesses personal jurisdiction over the defendant because

defendant purposely directed the alleged wrongdoing to the state of Florida and to the counties

of Florida where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.17    Defendant Indivior Inc. (“Indivior”) is a Delaware corporation and wholly-

owned subsidiary of Indivior Plc with offices located at 10710 Midlothian Turnpike, Suite 430,

Richmond, Virginia. Defendant Indivior manufactures, markets, sells, and distributes

pharmaceutical drugs, including opioids, across the United States, including in the communities

served by Plaintiffs. This Court has subject matter jurisdiction over the claims against this

defendant, and the Court possesses personal jurisdiction over the defendant because defendant

purposely directed the alleged wrongdoing to the state of Florida and to the counties of Florida

where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.18    Defendant Mylan Pharmaceuticals, Inc. is a Pennsylvania corporation with its

principal place of business located in Canonsburg, Pennsylvania. Mylan conducts its

pharmaceutical business operations through various entities, including Mylan Specialty, L.P.

and Mylan Pharms, Inc. (collectively “Mylan”). Defendant manufactures, promotes, markets,

distributes and sells opioids across the United States, including in the communities served by

Plaintiffs. This Court has subject matter jurisdiction over the claims against this defendant, and

the Court possesses personal jurisdiction over the defendant because defendant purposely

directed the alleged wrongdoing to the state of Florida and to the counties of Florida where the

wrongdoing occurred and where Plaintiffs operate and were injured.


      2.19    Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-



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owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings,

Inc. Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. and Par

Pharmaceutical Companies, Inc. are collectively referred to herein as “Par Pharmaceutical.” Par

Pharmaceutical was acquired by Endo International plc in September 2015 and is an operating

company of Endo International plc. Endo International plc, Par Pharmaceutical, Endo Health

Solutions Inc., and Endo Pharmaceuticals Inc. are collectively referred to herein as “Endo.”

Endo manufactures, markets, sells, and distributes pharmaceutical drugs throughout the United

States, including in the counties of Florida where Plaintiffs operate. Endo is registered to

conduct business and/or conducts business in Plaintiffs’ communities as a licensed wholesale

pharmaceutical distributor. This Court has subject matter jurisdiction over the claims against

this defendant, and the Court possesses personal jurisdiction over the defendant because

defendant purposely directed the alleged wrongdoing to the state of Florida and to the counties

of Florida where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.20    Defendant Rhodes Pharmaceuticals L.P. (“Rhodes Pharma”) is a Delaware

limited partnership with its principal place of business in Coventry, R.I. At all relevant times,

Rhodes Pharma has marketed a generic form of OxyContin which is manufactured by Purdue

Pharma L.P., a Delaware limited partnership, which is a subsidiary of Defendant Purdue, across

the United States, including in the communities served by Plaintiffs. This Court has subject

matter jurisdiction over the claims against this defendant, and the Court possesses personal

jurisdiction over the defendant because defendant purposely directed the alleged wrongdoing to

the state of Florida and to the counties of Florida where the wrongdoing occurred and where

Plaintiffs operate and were injured.


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      2.21    Defendant Rhodes Technology, Inc. (“Rhodes Tech Inc.”) is a Delaware

corporation formed on January 28, 1999 with its principal place of business in Coventry, Rhode

Island. Rhodes Tech Inc. is a general partner of Rhodes Technologies. At all times relevant

hereto, Rhodes Tech Inc. has manufactured and supplied Purdue with oxycodone, the active

pharmaceutical ingredient in Oxycontin for use in the manufacture of pharmaceutical

preparations or has managed Rhodes Tech or its predecessor in doing so, across the United

States, including in the communities served by Plaintiffs. This Court has subject matter

jurisdiction over the claims against this defendant, and the Court possesses personal jurisdiction

over the defendant because defendant purposely directed the alleged wrongdoing to the state of

Florida and to the counties of Florida where the wrongdoing occurred and where Plaintiffs

operate and were injured.


      2.22    Defendant Sandoz, Inc. (“Sandoz”) is a Colorado corporation with its principal

place of business in Princeton, New Jersey. Sandoz manufactures, promotes, distributes, and/or

sells opioids throughout the United States, including in the communities served by Plaintiffs.

This Court has subject matter jurisdiction over the claims against this defendant, and the Court

possesses personal jurisdiction over the defendant because defendant purposely directed the

alleged wrongdoing to the state of Florida and to the counties of Florida where the wrongdoing

occurred and where Plaintiffs operate and were injured.


      2.23    Defendant SpecGx LLC is a Delaware limited liability company with its

headquarters in Clayton, Missouri and is a wholly-owned subsidiary of Mallinckrodt plc.

Mallinckrodt plc, Avon, IMCERA, Tyco, Covidien, Mallinckrodt, LLC, SpecGx LLC, and their

DEA registrant subsidiaries and affiliates are collectively referred to herein as “Mallinckrodt.”

Mallinckrodt is registered to conduct business and/or conducts business in Plaintiffs’

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communities as a licensed wholesale pharmaceutical distributor. Mallinckrodt manufactures,

markets, sells, and distributes pharmaceutical drugs throughout the United States, including the

counties of Florida where Plaintiffs’ operate and were injured. This Court has subject matter

jurisdiction over the claims against this defendant, and the Court possesses personal jurisdiction

over the defendant because defendant purposely directed the alleged wrongdoing to the state of

Florida and to the counties of Florida where the wrongdoing occurred and where Plaintiffs

operate and were injured.


      2.24    Defendant West-Ward Pharmaceuticals Corporation, now known as Hikima

Pharmaceuticals, Inc. (“West-Ward”), is a Delaware corporation with its principal place of

business located in Eatontown, New Jersey. West-Ward is a provider of oral, liquid, inhalant,

and injectable branded and non-branded generic medicines. West-Ward is a manufacturer of

generic prescription opioids, including many Schedule II controlled substances such as

Oxycodone and Hydromorphone. West-Ward manufactures, markets, sells and/or distributes

pharmaceutical drugs nationally and in Plaintiffs’ communities. West-Ward is registered to

conduct business and/or conducts business in Plaintiffs’ communities as a licensed wholesale

pharmaceutical distributor. This Court has subject matter jurisdiction over the claims against

this defendant, and the Court possesses personal jurisdiction over the defendant because

defendant purposely directed the alleged wrongdoing to the state of Florida and to the counties

of Florida where the wrongdoing occurred and where Plaintiffs operate and were injured.


      2.25    Upon information and belief, and bolstered by the common factual allegations

incorporated from the Summit County Pleadings, the Plaintiffs maintain and allege that any

previously named Defendant which did not appear in the ARCOS data and remains a party to

this Amended and Supplemented Complaint purposely engaged in unlawful conduct to market,

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sell, or distribute prescription opioids in the counties of Florida where Plaintiffs operate and

were injured.


Additional Damages Allegation
       2.26     The damages Plaintiff BIG BEND COMMUNITY BASED CARE, INC. has

incurred, and will incur in the future, and for which compensation is due from the Defendants,

include the cost to it for ensuring medical and mental health care for children born with

challenges as a result of an opioid-addicted parent, and also the cost to it for ensuring the

provision of other services to all children who require public medical or mental health care

because of an opioid-addicted parent.


                           COMMON FACTUAL ALLEGATIONS

       3.       By checking the boxes in this section, Plaintiff hereby incorporates by reference to

this document the common factual allegations set forth in the Summit County Pleadings as

identified in the Court’s Order implementing the Short Form procedure. Doc. #: 1282.

   ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)

   ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)
   ☒ RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)


       4.       If additional claims are alleged below that were not pled in Plaintiffs Existing

Complaint (other than the RICO claims asserted herein), the facts supporting those allegations

must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)

identified in Paragraph 6 below (below or attached): N/A


                                             CLAIMS

       5.       The following federal RICO causes of action asserted in the Summit County


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Pleadings as identified in the Court’s implementing order and any subsequent amendments,

Doc. #: 1282, are incorporated in this Short Form by reference, in addition to the causes of action

already asserted in the Plaintiff(s)’s Existing Complaint (check all that apply):

   ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

   ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
   Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
   (Summit County Pleadings, Paragraphs 906-938)
       6.      Plaintiff asserts the following additional claims as indicated (below or attached):
N/A.


       7.      To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in

Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without

prejudice.

N/A.

       WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern

District of Ohio, MDL No. 2804 and in Plaintiffs Existing Complaint as has been amended herein.


Dated: March 16, 2019                         Respectfully submitted,


                                                /s/ Christopher B. Hood
                                              Christopher B. Hood
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